                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:03CR13-V

UNITED STATES OF AMERICA        )
                                )
           vs.                  )
                                )                           ORDER
ERIC JOEL REYNA,                )
           Defendant.           )
________________________________)

        THIS MATTER is before the Court upon receipt of correspondence from
Defendant’s wife, Belinda Ann Reyna, requesting that bond monies be returned to her.
Ms. Reyna’s letter is construed by the Court as a motion for return of bond. (Document
#109)
        On April 3, 2003, upon Defendant’s arrest, Ms. Reyna posted bond in the amount
of $10,000.00 in the United States District Court, Southern District of Texas, Houston
Division. (Case No.: H:03CR274) On June 5, 2003, following transfer to the Western
District of North Carolina pursuant to FED . R. CR IM . P. 40, the Clerk of Court in this district
received a check from the Southern District of Texas (in the same amount) to hold during
the pendency of Defendant’s criminal action.
        Defendant was sentenced on December 6, 2004. Judgment was entered on
January 6, 2005. Defendant did not exercise his right to direct appeal. This matter is now
closed. On October 17, 2005, the Government, via Assistant United States Attorney
Kimlani Murray, has advised chambers’ staff that it does not contest Ms. Reyna’s request.
        IT IS, THEREFORE, ORDERED THAT:
        1) Defendant’s Motion For Return Of Bond Money is hereby GRANTED;
        2) The Financial Administrator is directed to refund the $10,000 appearance bond
        to Ms. Belinda Ann Reyna, 3570 San Gabriel, Mission, Texas 78572; and
        3) The Deputy Clerk is directed to forward a copy of this Order to Defense Counsel,
        U.S. Attorney’s Office, U.S. Probation, U.S. Marshal’s Service, Financial
        Administrator, and Chief Deputy Clerk.



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                    Signed: October 17, 2005




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